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                                                                                2022 Jun-01 PM 02:57
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

MELINDA WRIGHT,                       )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )       Case No. 1:21-cv-00447-NAD
                                      )
LEGACY CABINETS, INC.,                )
                                      )
      Defendant.                      )

                    ORDER GRANTING IN PART
             DEFENDANT’S SUMMARY JUDGMENT MOTION

      Defendant Legacy Cabinet, Inc.’s pending motion for summary judgment

(Doc. 22) is set for a motion hearing on Thursday, June 9, 2022. Doc. 29. In light

of Plaintiff Melinda Wright’s opposition brief (Doc. 27), and the (email)

correspondence with Plaintiff Wright’s counsel on Monday, April 18, 2022, that

hearing will address only the claim for discrimination under the Americans with

Disabilities Act (ADA), and the claim for discrimination under Title VII, as alleged

in Wright’s complaint (Doc. 1).

      Wright’s complaint alleged four claims for relief: discrimination under the

ADA (Count 1), discrimination under Title VII (Count 2), and retaliation under Title

VII (Count 3) and the ADA (Count 4). Doc. 1.

      In her opposition to Defendant Legacy Cabinets’ summary judgment motion,

Wright “voluntarily dismisse[d] her Retaliation Claim under Title VII (Count [3]).”

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Doc. 27 at 2. Wright’s opposition brief did not address the claim for retaliation

under the ADA (Count 4). See generally Doc. 27. But Wright’s counsel later

confirmed in correspondence that Wright also intended to dismiss Count 4.

      Consequently, the court GRANTS IN PART Defendant Legacy Cabinets’

summary judgment motion (Doc. 22), and DISMISSES WITH PREJUDICE the

following claims:

   • Title VII retaliation (Count 3), see Doc. 1 at 7–9; and

   • ADA retaliation (Count 4), see Doc. 1 at 9.
      As a result, the June 9 hearing will address only Wright’s discrimination

claims under the ADA (Count 1) and Title VII (Count 2).

      DONE and ORDERED this June 1, 2022.



                                      _________________________________
                                      NICHOLAS A. DANELLA
                                      UNITED STATES MAGISTRATE JUDGE




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